Case 1:11-cV-00260-BLW Document 1 Filed 06/01/11 Page 1 of 23

David J. Elkanich

ISB NO. 8139

Email: delkanich@hinshawlaw.corn
HINSHAW & CULBERTSON LLP
1000 SW Broadway, Suite 1250
Portland, Oregon 97205-3078
Telephone: (503) 243-3243
Facsirnile: (503) 243-3240

Attorney for Defendants
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO
DAVID SEEVER, Case NO.
Plaintiff,
DEFENDANTS’ NOTICE OF
vs. REMOVAL
SAXON MOPRTGAGE SERVICES, INC. a
Virginia Corporation; WELLS FARGO
BANK National Association, as Trustee for
Seeuritized Asset Backed Receivables LLC
2005-FRI Mortgage Pass Through
Certit`icates, Series 2005 - FRI
Defendant.

PLEASE TAKE NOTICE that defendants SAXON MORTGAGE SERVICES, INC.l
(“Saxon”) and WELLS FARGO BANK National Association, as Trustee for Securitized Asset
Backed Receivables LLC 2005-FRI Mortgage Pass Through Certificates, Series 2005 - FRI
(“Trustee”) (collectively, “Defendants”) hereby remove this action from the District Court of the
Third Judicial District of the State of Idaho, in and for the County of Canyon (hereina&er “State

Cou!t Action”) to the United States District Court for the District of Idaho, and in support thereof

state as follows:

 

' The caption of the State Court Action incorrectly spells defendant’s name as “Saxon Moprtage Services Inc.” The
correct spelling is “Saxon Mortgage Services, Inc.” and that Will be utilized in this pleading

Page l - DEFENDANTS’ NOTICE OF REMOVAL

Case 1:11-cV-OO260-BLW Document 1 Filed 06/01/11 Page 2 of 23

1. The Defendants are parties in a civil action brought against it in the District Court
of the Third J udicial Distn`ct of the State of Idaho, in and for the County of Canyon entitled:
Davia’ Seever v. Saxon Mortgage Services Inc.,' Wells F argo Bank National Association, as
Trusteefor Securitized Asset Backed Receivables LLC 2005-FRI Mortgage Pass Through
Certificates, Series 2005 ~ FR]. Defendant Saxon was duly served with the Summons and
Complaint and Jury Demand on or about May 9, 2011; true and accurate copies of the Summons
and Complaint and Jury Demand are attached as Exhibit A.

2. Plaintiff filed a Motion to Consolidate the above-captioned case with Wells F argo
Bank National Association v. David A. Seever, Case No. CV 2010-0007102, on or about May 4,
2011. That hearing is scheduled for June 2, 2011. True and correct copies of the motion are
attached as Exhibit B. Attached as Exhibit C is a copy of the Case History in the State Court
Action, obtained from the Idaho Supreme Court Data Repository
(https://www.idcourts.us/repository/start.do).

3. The State Court Action was commenced when the Complaint was filed with the
county clerk for Canyon County, Idaho, on or about December 27, 2010. A copy of the
Summons and Complaint and Jury Demand were Served on Saxon on or about May 9, 2011. The
notice of removal is filed within 30 days after service of process in accordance with 28 U.S.C. §
l446(b).

4. Federal subject matter jurisdiction exists in this case pursuant to 28 USC §

1441 (b), because this is a civil action which includes a claim arising under the laws of the United
States, namely 15 U.S.C. § 1692e (Fair Debt Collection Practices Act) and 15 U.S.C. § l692f
(Fair Debt Collection Practices Act) As such, removal is appropriate without regard to the

citizenship or residence of the parties.

Page 2 - DEFENDANTS’ NOTICE OF REMOVAL

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5. Alternatively, this is a civil action over which this court has original jurisdiction
pursuant to 28 U.S.C. § 1332. This action may be removed because the action involves a
controversy between citizens of different states; none of the properly joined defendants is a
citizen of Idaho; and the amount in controversy exceeds $75,000.

a. Plaintiff David Seever is an individual residing in Canyon County, Idaho.

b. Defendant Saxon was, when the plaintiff filed his complaint, and is now a
corporation with its nerve-center in Fort Worth, Texas.

c. Defendant Wells Fargo was, When the plaintiff filed his complaint, is now
a corporation with its nerve-center in San Francisco, Califomia.

d. Plaintiff asserts the following claims: Quite Title (Count l); Slander of
Title (Count 2); Fair Debt Collection Practices Act (Count 3); the Idaho Consumer Protection
Act (Count 4), and Breach of Contract (Count 5).

e. In part, plaintiff asserts a breach of contract and asks for the Court to void
a Trustee’s Sale that occurred on the subject property. Plaintiff has asked for the Trustee’s Deed
(Instrument No. 2010017735) to be declared invalid; said Trustee’s Deed reflects a sale amount
of 8182,750.00. See Exhibit D. The value of the property - and therefore the amount in
controversy - far exceeds the $75,000 minimum jurisdictional requirement See Hunt v.
Washington State Apple Aa’vertising Comm ’n, 432 U.S. 333 (1977) (when a plaintiff seeks a
determination of liability under a contract, the potential liability is the amount in controversy,
even if the plaintiff seeks a declaration that he or she is owed nothing); Budget Rent-a-Car, Inc.
v. Higashiguchi, 109 F.3d 1471 (9th Cir. 1997) (notwithstanding plaintiffs prayer for $40,000 in
a breach of contract claim, the value of the amount in controversy for removal analysis was

$140,000, the contract’s maximum potential liability); Jack.son v. American Bar Assoc., 538 F.2d

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829, 831 (9th Cir. 1976) (stating that the value of injunctive relief depends on “the value of the
right to be protected or the extent of the injury to be prevented”). Since plaintiff seeks a
declaration that the foreclosure on his property is invalid, the amount in controversy far exceeds
$75,000.

6. The Defendants seek removal of this action to this Court and submits this Notice
along with the exhibits, in accordance with 28 U.S.C. § 1441 and 1446.

7. Written notice of the filing of this Notice of Removal will be given to the
Plaintiff, and a copy of this Notice of Removal and supporting papers will be filed with the Clerk
of the State Court, as provided by 28 U.S.C. § 1446(d).

8. This notice is signed pursuant to FRCP 11.

WHEREFORE, the Defendants, SAXON MORTGAGE SERVICES, INC., and WELLS
FARGO BANK National Association, as Trustee for Securitized Asset Backed Receivables LLC
2005-FRI Mortgage Pass 'Ibrough Certificates, Series 2005 - FRI, prays that the above described
action pending against it in the State Court be removed to this Court.

DATED this lst day of June, 2011.

HINSHAW & CULBERTSON LLP

s/ David J. Elkanich
David J. Elkanich, ISB No. 8139
Attomey for Defendants

Page 4 - DEFENDANTS’ NOTICE OF REMOVAL

Case 1:11-cV-OO260-BLW Document 1 Filed 06/01/11 Page 5 of 23

CERTIFICATE OF SERVICE

I hereby certify that on the date noted below, I caused to be filed with the Court through
the CM/ECF system, the document Defendants’ Notice of Removal, which will Send

notification of such filing(s) to the following:

John Gannon, ISB No. 1975

1101 W. River Suite 340

Boise, Idaho 83702

Telephone: (208) 433-0629
Facsimile: (208) 343-5807
Email: johngannonlOO@aol.com

DATED this lst day of June, 2011.

HINSHAW & CULBERTSON LLP

s/David J. Elkanich
David J. Elkanich, ISB #8139
Telephone: (503) 243-3243
Attomey for Defendants

Page 5 - CERTIFICATE OF SERVICE OF NOTICE OF

REMOVAL
130105540v1 68313

 

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4 z j :.` J‘” _f__[_A.i'ni,.gEi.[l?.M.

216 West Jefferson Streei
Boise, Idaho 83702
Telephone (208) 433-0629
Facsimile (208) 343-5807
.Attorney for Plaintiff

JoHN L. GANNoN #1975 eer L_j,-Z°L(» DEC 2 7 2010

CANYON COUNTY CLEFiK
J HE!DEMAN, DEPUTY

 

IN THE DISTRICT COURT OF THE THIRD JUDICIAL DISTRICT

OF THE STATE OF IDAHO, IN AND FOR THE COUNTY OF CANYON

DAVID SEEVER

Piaimiir, cAsE No. Q\/ 10 ' ' 5 5"7(/
vs.
SUMMONS
SAXON MOPRTAGE SERVICES INC. a
Virginia Corporation; WELLS FARGO n
_BANK National Association, as Trustee for
Securitized Asset Backed Receivables LLC
2005-FRI Mortgage Pass Through
Certificates, Series 2005 - FRl

 

Defendant

 

NOTICE: YOU HAVE BEEN SUED BY THE ABOVE-NAMED PLAINTIFF. THE COURT
MAY ENTER JUDGMENT AGAINST YOU WITHOUT FURTHER NOTICE UNLESS YOU
RESPOND WITHIN 20 DAYS. READ THE INFORMATION BELOW.
To: sAon MORTGAGE sEvacE“s INc, a virginia corporation

You are hereby notified that in order to defend this lawsuit, an appropriate written response
must be filed with the above designated'court within 20 days after service of this summons upon
you. If you fail to so respond the court may enterjudgment against you as demanded by the plaintiff

in the complaint.

A copy of the Complaint is served with this Summons. lf you wish to seek the advice or

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PAGE _____l_____.

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representation by an attorney in this matter, you should do so promptly so that your written response,
if any, may be filed in time and the other legal rights protected.

An appropriate written response requires compliance with Rule 10(a) (l) and the other ldaho
Rules of Civil Procedure and shall also include:

l. The title and number of this case.

2. lf your response is an Answer to the Complaint, it must contain admissions or denials
of the separate allegations of the Complaint and other defenses you may claim. '

3. Your signature, mailing address and telephone number, or the signature, mailing address
and telephone number of your attorney.

4. Proof of mailing, or delivery of a copy of your response to plaintiff’s attorney. as
designated above.

To determine whether you must pay a filing fee with your response, contact the Clerk of the

above named court.

DEC 2 7 2010
Dated this ___ day of ' , 2010

Clerk of the District Court

By JHEiDEwiN

 

Deputy Clerk

SUMMONS - Page 2

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Attomeys at Law 0
216 West Jefferson Street GEYE?D'\'E$OL{NTY CLERK
Boiso. idaho 83702 '~“A'\» DEPlJTY

Telephone No. (208) 433-0629
Attomeys for David Seever

IN THE DISTRICT COURT OF THE THIRD JUDICIAL DISTRICT

OF THE STATE OF IDAHO. IN AND FOR THE COUNTY OF CANYON

DAvID SEEVER » o
‘- Case No. QV!D/|z§g {
Plaintiff
coMPLAlNT
vs. AND JURY DEMAND

SAXON MORTGAGES SERVICES INC, a '
Virginia Corporation. WELLS FARGO
BANK National Association, as Trustee for
Securitized Asset Backed Receivables LLC
2005-FR1 Mortgage Pass Through
Certificates, Series 2005-FR1

 

Defendants.

 

COMES NOW the Defendant David Seever et al who hereby Complains and
Alleges:
COUNT l (QUIET_.,TITLE - TRUSTEES SALE)
I
At all times herein mentioned the property at 2523 North Montana Avenue, Caldwell,
is the subject of this case and it is located in Canyon County Idaho. The Parties reside in
Canyon County or they are doing business herein. l
ll
At all times herein mentioned Saxon Mortgage Services Inc was the authorized

agent and servicer for the WELLS FARGO BANK National Association, as TruséeEe for
JUD

coMPLAlNr AND JURY DEMAND - Page 1 GR;G{}BY M. CULET
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\ Case 1:11-cV-OO260-BLW Documentl Filed 06/01/11 Pagerf 23

Securitized Asset Backed Receivables LLC 2005-FR1 Mortgage Pass Through Certificates,
Series 2005-FRI , and was acting within the course and scope of their authority on behalf of
the Defendant Wells Fargo.
III
A purported trustees sale of the property was requested by the Defendant Saxon
and Defendant has claimed such sale took place either on February' 10, 2010, or April 9.
2010.
IV
The purported-sale, evidenced by a Trustees Deed, Instrument No. 2010017735 is
invalid because Saxon through its employees as late as April 5 and 'April 6, represented to
Plaintiffs Agent, Minerva Young. at the MAC Group that “there is no sale date now"
Further, on April 6 Saxon employees represented the Plaintiffs loan had been submitted for a
HAMP modification.
V
The purported sale, evidenced by a Trustees Deed, Instrument No.2010017735 is
invalid because S_axon through its employees on or about April 3 or 4 said that no sale on
Plaintiffs home was pending. o
VI
The purported sale, evidenced by a Trustees Deed, Instrument N0.2010017735 is
invalid because on January 29, 2010, the Plaintiff, acting in reliance upon forbearance .
representations by Saxon employees paid $20.000 to the Defendant Wells Fargo via a wire l
transfer and the default was superceded by an agreement. After receipt of the money, Saxon

promptly refused to honor said payment or agreement by demanding $80. 165.39, an amount

CoMPLAiNT AND JURY DEMAND - Page 2 A
EXH|BlT

PAGE

 

 

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l $24,000 in excess of the agreement
VII
The purported sale, evidenced by a Trustees Deed, Instrument No.2010017735 is
invalid because Plaintiff is informed and believes that the sale did not occur on February 10,
2010 as alleged in the Deed.
VIII
There may be additional irregularities in the process which invalidate the purported
sale, evidenced by°a Trustees Deed, Instrument No.2010017735 Plaintiff incorporates the
facts and evidence in the Affidavit of David Seever and Affidavit of Minerva Young filed in
Canyon County District Court Case No. CV 10-7102 into this Complaint and filed in support
of the Preliminary Injunction Motion as if fully set forth herein.
IX
_ The Defendant Wells Fargo was the beneficiary under the Trustees Deed and also the
purchaser and its agent conducted this loan servicing and therefore. the Defendant Wells Fargo
is not a bona fide purchaser of this property.
X
Plaintiff asks that whatever purported Trustees Sale in this matter that occurred be
declared void and of no effect, and further Plaintiff asks that a full accounting be provided
and an accurate statement of the present balance due be made.
XI
Plaintiff further asks that the Unlawful Detainer Proceeding pending in the Magistrate

Division CV 10-7102 be enjoined and stayed and consolidated with this proceeding

coMPLAINT AND JURY DEMAND - Page 3
EXH|BlT

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XIl
Plaintiff asks for an award of costs and attorneys fees pursuant to Idaho Code 12-121
, 12- 120 and other applicable statutes.
11 (sLANDER oF TITLE)
I
The actions of the Defendant Saxon, and of Saxon as the agent for Wells Fargo alleged

herein have caused an improper deed to be issued and slandered the title to the Plaintiffs

property.
ll

The Defendant through its agent Saxon has been advised repeatedly of the Plaintiffs
claims herein, including a detailed letter from Attomey Jerry Kiser in late April, and they
have wilfully refused to take any action concerning this matter and clear title.

III
- As a result of this slander of title. Plaintiffs are incurring costs and attorneys fees in
clearing their title to the property as well as other special damages which may occur. Plaintiffs
request $3000 from each Defendant if this matter proceeds by default.
COUNT llI (FAIR DEBT COLLECTION PRACTICES ACT ( SAXOl\l ONLY)
l

The Defendant Saxon is a debt collector as defined by the Fair Debt Collection

Practices Act (FDCPA) by its own admissions and representations
ll

At all times herein mentioned Plaintiff is a consumer as defined by the FDCPA.

coMPLArNT AND JuRY DEMANI) - Page 4 ' A
EXH|BlT

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III

 

Defendant Saxon collects payments from the loans it services, including the debt it
serviced which is the subject of this case.
IV
Plaintiff repleads Paragraphs III - VIII of Count I.
V
Defendant Saxon has violated the Fair Debt Collection Practices Act 15 USC 1692(f) in
that it has engaged in unfair and unconsionable means to collect an alleged debt by:
(l)attempting to collect an amount which is not authorized by any agreement or

' permitted by law:
V]

Defendant Saxon has violated the Fair Debt Collection Practices Act 15 USC 1692(e)
by engaging in false deceptive and misleading representations in collecting this debt by:
- (2) falsely representing the character, amount and legal status of the debt
(5) The threat to take action which cannot be legally taken
(10) The use of false anddeceptive means to collect a debt from the Plaintiff
(11) failed to ever provide correct debt validation notices to the Plaintiff.

VII `
As a result of this conduct Plaintiff is entitled to the statutory damage of $1000

plus costs, and attorneys fees under 15 USC 1692(k), and other damages to be determined at
trial including damages to clear the title on this property all of which probably exceed $10,000
the jurisdictional limit of this court. v
COUNT Iv CoNsUMER PRoTEcTIoN ACT (SAon)
l

coMPLAlNT AND JURY DEMAND - Page 5 A
EXH|BlT

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This transaction is one for goods and services as defined in the Idaho Consumer
Protection Act.

ll
The Defendant Saxon is a provider of services in connection with the loan that is the
subject of this Complaint,
III
Plaintiff repleads and realleges Paragraph lll - Vlll of Count I

lV
The Defendant Saxon in the exercise of due care knew or should have known that the

conduct herein is an unfair and deceptive act or practice in violation of Idaho Code 48-603 (5)
(7), (17) and a violation of regulations issued by the Idaho Attomey General.
V
As a result of these violations, Plaintiff has incurred actual damages in an amount to
be determined at Trial, but in the minimal amount of $20,000 plus interest, or in the statutory
minimum amount in ldaho Code 48-608 plus costs and attorneys fees pursuant to said statute.
COUNT V BREACH OF CON'I`RACT (SAXON AND WELLS)
I
Defendant Saxon. and Defendant Wells Fargo by virtue of Saxon’s agency, entered into
verbal and an actual written contract for the repayment of past due claims n
ll
Under duress, Plaintiff paid $20,000 on January 29, 2010 and returned a signed
Forbearance Agreement which had a balance of approximately $54,000. which Plaintiff

believed was wrong, but agreed to because he did not want his home sold on February 10,

coMPLAiN'r AND JURY DEMAND - Page 6
EXH|BlT

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III

 

Within days, the Defendant through its agent Saxon demanded $80,165.39, an
outrageous amount, and unilaterally changed the terms of the contract.
IV

The actions of the Defendant were designed to make performance by Plaintiff

impossible and at the same time collect the $20,000.
V

As a result of the Defendants conduct, the Plaintiff is damaged in the amount of
$20,000 plus possible loss of his home and the equity therein if the sale of his home is not set
aside, in an amount to be proven at trial.

Vl

Plaintiff asks for an award of costs and attorneys fees pursuant to ldaho Code 12-
120(3)., and ldaho code 12-121

WHEREFORE Plaintiffs ask for the following relief:

1. Judgment that the Trustees Deed issued in this case is void because the default was
cured per an agreement and because of representations that a sale had not occurred as well as
other deficiencies in the procedure.

2. Judgment pursuant to Count ll for damages including attorneys fees and costs
incurred in this proceeding. d

3. Judgment pursuant to Count 111 and IV for damages in an amount to be proven at
trial, but in the alternative the minimum statutory amounts allowable under each statute..

4. Judgment pursuant to Count V in the e amount of $20,000 or as proven at trial.

coMPLAlNT AND JURY DEMAND - Page 7 EXHan
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/ . t Case 1:11-cV-OO260-BLW Document 1 Filed 06/01/11 Page 15 of 23

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5. Costs and Attomeys Fees pursuant to I.C.12-120, 12-121, 48-608, 15 USC 1691K
and other applicable statutes. If this matter proceeds by Default against either Defendant,
. Plaintiff claims $3000 as attorneys fees.
6. Lawful prejudgement interest as allowed by law and such other relief as the Court
deems just.
PLAINTIFF DEMANDS A TRIAL BY JURY

Dated this 2 day of ql)ecertlb'e`r, 2010
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Case 1:11-cV-OO260-BLW Document 1 Filed 06/01/11 Page 16 of 23

JOHN GANNON N0.1975
Attomeys at Law. _
ZI'Q-West Jefferson Street _ -'
Boise, idaho 83702;. ' : a . 1 ;
Telephone No. (208) 433-0629
Attomeys for David Seever

IN THE DISTRICT COURT OF THE THIRD JUDICIAL DISTRICT

OF THE STATE OF IDAHO, IN AND `FOR THE COUNTY OF CANYON'

DAVID SEEVER

Plaintiff

VS.

SAXON MORTGAGES SERVICES INC, a
Virginia Corporation. WELLS FARGO
BANK National Association, as Trustee for
Securitized'Asset Backed Receivables LLC
‘ZOOS-FRI Mortgage Pass Through
Certificates, Series 2005-FR1

Defendants.
WELLS FARGO BANK, National
Association, as Trustee for Securitized Asset
Backed Receivables LLC 2005-FR1

Mortgage Pass Through Certificates, Series
2005-FR1

Plaintiff
vs.

'DAvn) sEEvER, DoEs 1-10 As
occUPANTs.

Defendants.

 

 

Case No. CV 10-13524

NOTICE OF HEARING
REGARDING

MOTION TO CONSOLIDATE

Case NO. CV 10-7102

PLEASE TAKE NOTICE that David Seever, Plaintiff in Case NO CV 10-13524

and Defendant in Case No. CV 10-7102 will call up for Hearing his Motion to Consolidate

NOTICE OF HEARING REGARDING MOTION TO CONSOLIDATE - Page 1 EXH|BlT 6

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Case 1:11-ov-oozeo-Bl_vv Dooumeni 1 l§il§d oe/o1/11 Page 17 of 23

on Thursday the 2 day of June, 2011, at the hour of 9:00 AM or as soon thereafter
as the matter may be heard, before the Honorable Gregory Culet at his Courtroom at the
Canyon County Courthouse 1115 W Albany, Caldwell, Idaho

Da this 3 day of May

 
 

 

CER'I`IFICA'l"`E'l OF MA.ILING

I hereby certify that on the 3 day of May, 2011, I caused to be deposited in the United
States postage prepaid, a true and correct copy of he oregoin addressed to Holger
ington 98370

     

 

NOTICE oF HEARING REGARDING MOTION To coNsoLIDATE - Page 2 EXH|BlT 5
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JOHN GANNON No.1975
Attomeys at Law

216 West Jefferson Street
Boise, Idaho 83702

Telephone No. (208) 433-0629
Attomeys for David Seever

IN THE DISTRICT COURT OF THE THIRD JUDICIAL DISTRICT

OF THE STATE OF IDAHO, IN AND FOR THE COUNTY OF CANYON

DAV`ID SEEVER

Plaintiff

vs. ,

SAXON MORTGAGES SERVICES INC, a
Virginia Corporation. WELLS FARGO
BANK National Association, as Trustee for
Securitized Asset Backed Receivables LLC
2005-FR1 Mortgage Pass Through
Certificates, Series 2005-FR1

Defendants.

WELLS FARGO BANK, National
Association, as Trustee for Securitized Asset
Backed Receivables LLC 2005-FR1
Mortgage Pass Through Certificates, Series
2005-FR1

Plaintiff

VS.

DAVID SEEVER, DOES 1-10 AS
OCCUPANTS.

Defendants.

 

Case No. CV 10-13524

MOTION TO CONSOLIDATE

Case No. CV 10-7102

COMES NOW the Plaintiff David Seever who hereby moves and requests that these

two cases be consolidated into one case pursuant to IRCP 42 for the reasons that these two

MOTION TO CONSOLIDATE - Page 1

EXH|BlT _§_____
PAGE__Z-_

 

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cases deal with common questions of law and fact and arise out of the same facts and
circumstances

This Motion is made based upon the record and file in each case.

This Motion is being made to the District Court in Case No CV 10-13524 based upon
Counsels understanding that Case No.CV 10-7102 is in the Magistrate Division, and although
it has a lower case number, the District Court would be appropriate because of its senior
status.

Dated this 3 day of May, 2

§
/y

CERTIFICATE OF NG

  

)\

I hereby certify that on the 3 day of May, 2011, I caused to be deposin in the United
States postage prepaid, a true and correct copy of the foregoing pleadi
Uhl McCat'"thy & Holtus 19735 10th Ave NE Suit ‘- il '- . sbo

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\ ;_ ton 98370

   

   

 

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ldaho Repository - Case History Page

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Case:CV-2010-0013524-CDistrict Filed: 12/27/20108ubtype:

Pending
hearings:

: Register
` of
_ actions:

Case 1:11-cV-OO260-BLW Document 1 Filed 06/01/11 Page 20 of 23

Case History

Cany on

19 Cases Found.

David A Seever vs. Saxon Mortgages Services |nc, etal.

Other _ Gregory

Claims Judge` M Cu|et

DefendantS=Saxon Mortgages Services |nc Wells Fargo Bank
Plaintiffs=Seever, David A

Status: Pending

Datefl' ime Judge Type of Hearing
06/02/2011 _ _
9:00 AM Gregory M Cu|et Motion Hearing
Date

12/27/2010 New Case Filed-Other C|aims

_ 12/27/2010 Summons issued (2)

Fi|ing: A - All initial civil case filings of any type not listed in
categories B-H, or the other A listings below Paid by:
12/27/2010 Gannon, John L (attorney for Seever, David A) Reoeipt
number: 0079635 Dated: 12/27/2010 Amount: $88.00
(Check) For: Seever, David A (plaintiff)
05/04/2011 Motion to Consolidate
05/04/2011 Notice Of Hearing Regarding Motion to Consolidate 6-2-11
Hearing Scheduled (Motion Hearing 06/02/2011 09:00 AM)
david seevers motn to consolidate

05/17/2011 Request for Judica| Notice

05/04/201 1

 

EXH|BlT C

PAGE j

6/1/20118:05 AM

https://www.idcourts,us/repository/caseHistory.do?roaDetail=yes&s...

 

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TH|S lS TO CERTlFY THAT TH|S lS A FULL,
TRUE AND CORRECT COPY OF THE OR|GlNAL
RECORDED lN THE OFF|CE OF THE COUNTY

RECORD|NG FEE: $12.00

RECQRD|NG REQUESTEU By RECORDED ONZ AE|’" 19¢ 2010
AS DOCUMENT NO: 2010017735

sENo rAx sTArEMENrs To AND wHEN REcoRoEo traffic S' J°S°Ph'"° Ga'al’°"
cchAeo TiTLE iNsuRANcE co. (Lsi oivlsloN)
SAXON MORTGAGE SERV|CES, lNC.

4708 MERCANT|LE DR|VE
FORT WORTH, TX 76137

 

 

 

Trustee‘s Sale No: 02~FMG~84750
*FMG847500203000000*

TRUSTEE'S DEED

PlONEER LENDER TRUSTEE SERVlCES, LLC, as Successor Trustee under the Deed of or Transfer
tn Trust hereinafter particularly described does hereby Bargaln, Sell and Convey, without warranfy. to
Wells Fargo Bank, Natlonal Assoclatlon as Trustee for Securitized Asset Backed Receivables LLC 2005-
FR1 Mortgage Pass-Through Certlticates, Series 2005-FR1 , (hereln called Grantee). whose address ls
4708 MERCAN`T|LE DRIVE . FORT WORTl-l. TX 76137. all of the real property situate ln the County of
CANYON, State of ldaho, described as follows: `

A`lTACHED HERETO AS EXH|BlT ’A' AND INCORPORATED HERE|N AS THOUGH
FULLY SEl' FORTH.

Thfs conveyance is made pursuant to the powers conferred upon Trustee by the Deed of Trust between
DAV|D SEEVER, AN UNMARRIED MAN, as Grantor(s), to ALL|ANCE TITLE & ESCROW. as Trustee,
In favor of MORTGAGE ELECTRONIC REGlSTRATlON SYSTEMS, |NC. AS NOM|NEE FOR
FREMGNT lNVESTMENT & LOAN. as Boneflclary. dated 5130/2004. recorded 9/8/2004 , under
lnstrument No. 200450332. Mortgage records of CANVON County, |DAHO, and after the fulflllment of
the conditions specified in said Deed of Trust authorizing this conveyance as follows:

(a) Default occurred in the obligations for which said Deed of Trust was glven as secuer and the
beneficiary made demand upon the said Trustee to sell sald property pursuant to the terms of said
Deed of Trust. Notice of Default was recorded as Instrument No. 2009051394, CANYON County,
ldaho Mortgage Records and |n the ofnce of the Recorder of each other county in whlch the property
descrlbed ln said Deed of Trust, or any part thereof ls sltueted, the nature of such default being as
set forth in said Notice of Defeult. Such default still exlsted at the tlme of sale.

(b) After recordation of said Notice of Default, Tmstee gave notlce of the time and place of the sale of
sa|d property by registered or certified mall, by personal service upon the occupants of said real
property, by posting tn a conspicuous place on sald prem|ses and by publlshing ln a newspaper of
general circulation in each of the counties in which the property le situated as more fully appears ln
aflidavlts recorded at least 20 days prior to dale of sale as instrument No. 2010002677, lnstrument
No. 2010002678, and |nslrurnent No. 2010002679, CANYQN County, ldaho Mortgage Records.

(c) The provisions, recitals and contents of the Notlce of Defau|t referred lo ln paragraph (a) supra an of

the Aflldavlts referred to ln paragraph (b) supra shall be and they are hereby lncorporated here|n and
made an integral part hereof for all purposes as though set forth herein at length.

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PAGE

 

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(d) All requirements of law regarding the mailing, personal service, posting. publication and recording of
Notice of Default, and Notice of Sa|e. and of ali other notices have been compiled wlth.

(e) Not less than 120 days elapsed between the giving of Notice of Sale by registered or certified mail
and the sale of said property.

(f) Trustee. at the time and place of sale fixed by said Notice, at public auction. in one parcel, struck off
to Grantee. being the highest bidder therefor. the property herein described for the $182,750.00, 4
, subject however.to all prior liens and encumbrances.. No person or corporation offered to take any, .. , . l .t .. .. . .._

part of said property less than the whole thereof for the amount of principal, lnterest, advances and
oosts.

DATEDZ 4/13/2010.

PlONEE `ENDER TRUSTEE SERV|CES, LLC
Truste

ByvA l

Name) (Titie)

 
 
    
       
 

STATE OF
COUNTY OF
On 4/13/2010. before me a Notary Public in

. known and
of the corporation who executed this instrument on be

that such corporation executed the same.
NOTARY PUBI.|C in and for the State`oi`
residing at:

My commission expires: \

for said State. personally appeared
itied to me to be the
f said corporation, and acknowledged to ma

 

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-ACKNOWLEDGEMENT- LIMI'I`ED LIABILITY COMPANY

STATE OF LDAHO)
)ss.
CouNrY or ADA )

On this 13 day of April, in the year 2010, before me, the undersigned, a Notary Fublic in
and for the said state, personally appeared Ronald W. Jantzen known to mc to be the
Vice President ofPIONEER LENDER TRUSTEE SERVICES, LLC, a Limitod Liability
Company, that executed the instrument or the person who executed the instrument on
behalf of said Company and acknowledged to me that the company executed the same.

In witness whereof, I have hereunto set my hand and afnxcd my official seal, the day and
year in this certificate first above writtsn.

}'\ (Vl<`,€ /
TARY PU`BLIC FOR. THE STATE OF UJAHO
KESIDING ATZ BOISE, IDAHO

EXI’IRA'I'IGN DATE! 8/4/2015

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noon
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